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AO 245B         (Rev. 09/0 8) Judgment in a Criminal Case
                Sheet I



                                            UNITED STATES DISTRICT COURT
                                                              Middle District of Alabama

                UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                           V.
                  RODNEY ONEAL PHILLIPS
                                                                                   Case Number:              3 :O9CRI 9-MEF-0 1

                                                                                   USM Number                12663 -002

                                                                                   Andrew M. Skier
                                                                                    Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to Count(s)           1 and 4 of the Indictment on 3/17/20 10
Li pleaded nob contendere to count(s)
   which was accepted by the court.
Li was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                                                            Offense Ended           Count

I 8:922(g)(1)                       Felon in Possession of a Firearm                                             6/20/2006                 1
21:844(a)                           Possession of a Cocaine Base Crack Cocaine                                   6/20/2006                 4



       The defendant is sentenced as provided in pages 2 through                   6       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
Li The defendant has been found not guilty on count(s)
X Count(s) 2 and 3 of the Indictment                        Li is   X are dismissed on the motion of the United States.
         It is ordered that the defendant must notiFy the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notiFy the court and United States attorney of material changes in economic circumstances.

                                                                            June_3,2010
                                                                            Date of Imposition of Judgment




                                                                            Signature




                                                                            MARK E. FULLER, CHIEF U.S. DISTRICT JUDGE
                                                                            Name and Title of Judge          -


                                                                                          /3
                                                                            Date
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A0 245B     (Rev. 09/08) Judgment in Criminal Case
            Sheet 2 - Imprisonment
                                                                                                        Judgment - Page   2      of   6
DEFENDANT:                     RODNEY ONEAL PHILLIPS
CASE NUMBER:                   3:09CR19-MEF-01


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

Twenty three (23) months. This sentence consists of 23 months on Count 1 and 12 months on Count 4 to run concurrently.
This sentence shall run consecutive to any sentence defendant is now serving with the Alabama Department of Corrections.


    X The court makes the following recommendations to the Bureau of Prisons:
       The Court recommends that defendant be designated to a facility where Intensive Residential Substance Abuse Treatment
        is available.



    X The defendant is remanded to the custody of the United States Marshal.

    LI The defendant shall surrender to the United States Marshal for this district:

          LI at                                      LI a.m. LI p.m. on
          LI as notified by the United States Marshal.

    LI The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          LI before 2 p.m. on
          LI as notified by the United States Marshal.

          LI as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                           to

a                                              -      , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL


                                                                            By____
                                                                                                  DEPUTY UNITED STATES MARSHAL
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AO 245B      (Rev. 09/08) Judgment in a Criminal Case
             Sheet 3 - Supervised Release
                                                                                                            Judgment—Page      3     of        6
DEFENDANT:                     RODNEY ONEAL PHILLIPS
CASE NUMBER:                   3:09CR19-MEF-01
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
Three (3) years. This term consists of 3 years on Count 1 and 1 year on Count 4, all to run concurrently.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, f applicable.)
X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, fapplicable.)
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, f/applicable.)

 E The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
     as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
     works, is a student, or was convicted of a qualifying offense. (Check, f applicable.)

 Li The defendant shall participate in an approved program for domestic violence. (Check, f applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.
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AU 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 3C - Supervised Release
                                                                                             Judgment—Page     4    of        6
DEFENDANT:                 RODNEY ONEAL PHILLIPS
CASE NUMBER:               3:09CR19-MEF-01

                                         SPECIAL CONDITIONS OF SUPERVISION
Defendant shall participate in a program approved by the United States Probation Office for substance abuse, which may
include testing to determine whether defendant has reverted to the use of illegal drugs. Defendant shall contribute to the cost
of any treatment based on ability to pay and the availability of third-party payments.
Defendant shall participate in a mental health treatment program approved by the United States Probation Office and
contribute to the cost based on ability to pay and availability of third-party payments.
Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this Court.
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AU 245B    (Rev. 09/0 8) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties
                                                                                                        Judgment - Page     5      of - -   6
 DEFENDANT:                         RODNEY ONEAL PHILLIPS
 CASE NUMBER:                       3:09CR19-MEF-01
                                                CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                         Fine                               Restitution
 TOTALS            S 125.00                                            $ 1,000.00                          $0


 Li The determination of restitution is deferred until                . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 Li The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                  Total Loss*                       Restitution Ordered                     Priority or Percenta2e




 TOTALS                               $                                       $


 Li Restitution amount ordered pursuant to plea agreement $

 Li The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 36 12(g).

 X The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      X the interest requirement is waived for the X fine Li restitution.
      Li the interest requirement for the              Li fine Li restitution is modified as follows:



 * Findings forthe total amount of losses are required under Chapters 1 09A, 110, 11 QA, and 11 3A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
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AU 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments

                                                                                                             Judgment - Page -6         of       6
DEFENDANT:                   RODNEY ONEAL PHILLIPS
CASE NUMBER:                 3:09CR19-MEF-01


                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A x Lump sum payment of$ 1,125.00                                 due immediately, balance due

           Li not later than                            _________ , or
                in accordance              Li C,       J D,         E, or         x F below; or
B Li Payment to begin immediately (may be combined with Li C,                              Li D, or Li F below); or
C Li Payment in equal        __________ (e.g., weekly, monthly, quarterly) installments of $          __________         over a period of
                   (e.g., months or years), to commence    ______         (e.g., 30 or 60 days) after the date of this judgment; or

D Li Payment in equal                  -              (e.g., weekly, monthly, quarterly) installments of $      __________ over a period of
                 ______ (e.g., months or years), to commence                  _____ (e.g., 30 or 60 days) after release from imprisomnent to a
           term of supervision; or

E Li Payment during the term of supervised release will commence within _______             (e.g., 30 or 60 days) after release from
        imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     x Special instructions regarding the payment of criminal monetary penalties:
           Criminal monetary payments shall be made payable to the Clerk U.S. District Court, Middle District of Alabama, P.O. Box 711,
           Montgomery, AL 36101. The fine shall be paid at a rate of not fess than $30.00 a month.




Unless the court has expressly ordered otherwise, ifthisjudgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



Li Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




Li The defendant shall pay the cost of prosecution.

Li The defendant shall pay the following court cost(s):

X The defendant shall forfeit the defendant's interest in the following property to the United States:

     One High Point, C9, 9mm pistol, bearing serial number P232765 and ammunition.


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
